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                        UNITED STATES DISTRICT COURT

                          DISTRICT OF MASSACHUSETTS


NORFOLK COUNTY COUNCIL, as                 )   No. ____________________________
Administering Authority of the NORFOLK     )
PENSION FUND, Individually and on Behalf   )   PLAINTIFF NORFOLK PENSION FUND’S
of All Others Similarly Situated,          )   MOTION TO COMPEL THIRD PARTY
                                           )   MINTZ, LEVIN, COHN, FERRIS,
                          Plaintiff,       )   GLOVSKY AND POPEO, P.C. TO
                                           )   PRODUCE DOCUMENTS RESPONSIVE
        vs.                                )   TO PLAINTIFF’S SUBPOENA DUCES
                                           )   TECUM
MINTZ, LEVIN, COHN, FERRIS,                )
GLOVSKY AND POPEO, P.C.,                   )
                                           )
                          Defendant.
                                           )
                                           )




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        Pursuant to Federal Rules of Civil Procedure 37 and 45 and Local Rule 37.1, plaintiff

Norfolk County Council, as Administering Authority of the Norfolk Pension Fund (“Norfolk”),

respectfully submits this motion to compel Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.

(“Mintz Levin”) to produce documents responsive to a subpoena issued by the United States District

Court for the Central District of California in connection with an action pending in that district,

Hsingching Hsu v. Puma Biotechnology, Inc., et al., No. 8:15-cv-00865 AG (JCGx) (C.D. Cal.) (the

“Underlying Litigation”).

        By this Motion, Norfolk makes a narrowly-tailored request for an order compelling Mintz

Levin to: (a) produce unredacted copies of five redacted emails that are based on non-privileged

communications with individuals or entities who are not Mintz Levin’s clients, or alternatively

submit them for in camera review; and (b) search for and produce all communications with

Latham & Watkins LLP or Morgan Lewis & Bockius LLP regarding the Underlying Litigation.

Such documents are responsive to Request Nos. 1-4 of Norfolk’s subpoena.

        In support of this Motion, Norfolk relies upon the memorandum of law in support of this

Motion, the declaration of Theodore M. Hess-Mahan, and attached exhibits, submitted herewith.

        In addition, pursuant to Federal Rule of Civil Procedure 45(f), Norfolk respectfully requests

that the Court transfer its Motion to the United States District Court for the Central District of

California at the earliest possible date for further proceedings. Norfolk’s motion to transfer,

memorandum of law, declaration and exhibits in support thereof, are filed concurrently herewith.

DATED: March 9, 2018                         HUTCHINGS BARSAMIAN MANDELCORN, LLP
                                             THEODORE M. HESS-MAHAN, BBO #557109


                                             /s/Theodore M. Hess-Mahan
                                                      THEODORE M. HESS-MAHAN




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                                            Class Counsel for Plaintiff

                                            *Pro hac vice motion to be filed



                             CERTIFICATE OF CONFERENCE

        In accordance with Local Rules 7.1(a)(2) and 37.1, the undersigned hereby certifies that

counsel for Norfolk conferred with counsel for third party Mintz Levin and attempted in good faith

to resolve or narrow the issues in dispute, but was unable to do so.




                                                         J. MARCO JANOSKI GRAY




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